


















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NOS. &nbsp;2-09-217-CR

 
2-09-218-CR

 2-09-219-CR
				



JAMIE MARGUERITE MCGIRT					 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	APPELLANT

A/K/A JAMIE MARGURITE MCGIRT



V.

THE STATE OF TEXAS	STATE

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FROM THE 396
TH
 
DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex. R. App. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 Tex. R. App. P. 43.2(f).

PER CURIAM

PANEL: 
DAUPHINOT, GARDNER, and WALKER
, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)

DELIVERED: August 6, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




